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                       UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

THE COLONIAL BANCGROUP, INC., and
KEVIN O’HALLORAN,

      Plaintiff,

v.                                         Case No. 2:11-cv-00746-BJR
                                           (LEAD CASE)
PRICEWATERHOUSECOOPERS         LLP   and
CROWE HORWATH LLP,                         REDACTED

      Defendants.

_________________________________

FEDERAL DEPOSIT INSURANCE
CORPORATION, as Receiver for
Colonial Bank,

      Plaintiff,
                                           Case No. 2:12-cv-00957-BJR
v.
                                           REDACTED
PRICEWATERHOUSECOOPERS         LLP   and
CROWE HORWATH LLP,

      Defendants.

PLAINTIFF FEDERAL DEPOSIT INSURANCE CORPORATION AS RECEIVER FOR
 COLONIAL BANK’S OPPOSITION TO CBG'S MOTION TO EXCLUDE CERTAIN
 EXPERT OPINIONS AND TESTIMONY OF THE FDIC-R'S EXPERTS JONATHAN
                  WALKER AND KENNETH J. MALEK
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          The Colonial BancGroup, Inc. as post-confirmation debtor, and Kevin O’Halloran, as

plan trustee acting for and on behalf of BancGroup (collectively “CBG”) have moved to exclude

certain opinions and testimony of Jonathon Walker (“Walker”) and Kenneth Malek (“Malek”),

contending that “they are not qualified to render those opinions, [sic] irrelevant to the issues in

this case and because they are unsupported and unreliable and would not assist the trier of fact.”

See Motion of the Colonial BancGroup, Inc., and Kevin O’Halloran, as plan trustee, to Exclude

Certain Expert Opinions and Testimony of the FDIC-R’s Experts Jonathan Walker and Kenneth

J. Malek (Doc. No. 529) (“Motion”) at p. 1. CBG misconstrues the point of both rebuttal reports,

which is to rebut a defense expert’s critique of the expert report issued by Malek and highlight

certain failures in the defense expert’s analysis. It is not to attack CBG’s own damages expert or

offer regulatory or corporate governance opinions. The Motion fails to provide the Court with

the context in which the complained of sections of the rebuttal reports arise and that context

shows that Walker’s and Malek’s rebuttal opinions are relevant, reliable, and will assist the trier

of fact in understanding Malek’s opinions and the defense expert’s critiques of those opinions.

                                    I.     BACKGROUND

          The Federal Deposit Insurance Corporation as receiver for Colonial Bank (“FDIC-R”)

retained Malek as its damages expert. CBG retained Laureen Ryan (“Ryan”) as its damages

expert.     Pricewaterhouse Coopers LLP (“PwC”) and Crowe Horwath LLP (“Crowe”)

(collectively, “Defendants”) submitted expert reports relating to damages, including the reports

of Kenneth M. Lehn (“Lehn”) and Christopher M. James (“James”). The Defendants’ reports

addressed the damages claimed by both the FDIC-R and CBG and specifically criticized certain

sections of the Malek report. As a result, Malek prepared a rebuttal report addressing the defense

experts’ critique of his opinions. The FDIC-R also retained Walker to provide a rebuttal report




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as to those criticisms. The Defendants have not filed any motion to exclude or limit the reports

or testimony of either Malek or Walker.        Instead, CBG seeks to exclude any opinions or

testimony from Walker or Malek that




                                               See Motion at 12. In doing so, CBG mistakenly

asserts that such testimony requires a regulatory or corporate governance expert as opposed to a

damages expert.     Contrary to CBG’s position, it is entirely appropriate for the FDIC-R’s

damages expert, Malek, as well as its rebuttal expert, Walker, to address the flaws in Lehn’s

damages analysis as part of their damages rebuttal in defense of Malek’s opening opinion.

         II.      STANDARD FOR ADMISSIBILITY OF EXPERT TESTIMONY

       To determine whether expert testimony may be admitted, the Court is required to engage

in the “rigorous three-part inquiry” of whether:

       (1) the expert is qualified to testify competently regarding the matters he intends
       to address; (2) the methodology by which the expert reaches his conclusions is
       sufficiently reliable as determined by the sort of inquiry mandated by Daubert;
       and (3) the testimony assists the trier of fact, through the application of scientific,
       technical, or specialized expertise, to understand the evidence or to determine a
       fact in issue.

United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (quoting City of Tuscaloosa v.

Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998) (citing Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579, 589 (1993))). “There are thus three discrete inquiries: qualifications,

relevance, and reliability.” Nelson v. Whirlpool Corp., Civil Action No. 09-0520-WS-B, 2011

WL 1827451, at *1 (S.D. Ala. May 12, 2011). Furthermore, a court may exclude expert

testimony even if it is relevant where “its probative value is substantially outweighed by a danger



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of . . . confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.” Fed. R. Evid. 403; see also Allison v. McGhan Med. Corp.,

184 F.3d 1300, 1310 (11th Cir. 1999). Under the applicable law, speculative expert testimony is

not admissible. Federal Rule of Evidence 702 requires that expert testimony be “based on

sufficient facts or data” and “the product of reliable principles and methods that are reliably

applied to the facts of the case.” Fed. R. Evid. 702(b) and advisory committee’s note (2000

amends.).

                                        III.    ARGUMENT

         CBG initially asserts that it is seeking to exclude those portions of the rebuttal reports and

related testimony that



Motion at 1-2. CBG then attempts to narrow this broad and vague request by asking that the

Court




                               See Motion at 12.1 As discussed below, when considered in context,




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this testimony is relevant because it is an important factor that the defense expert failed to

consider in his critique of Malek’s damages opinions. In addition, this testimony does not

require a regulatory or corporate governance expert because the testimony complained of merely

reiterates what this Court has already stated in a previous order, yet explains why the point is

important in the context of the damages analysis.

       A. Malek and Walker opine that Lehn’s opinions are speculative and that he failed
          to consider relevant information when criticizing Malek’s expert report.

       Lehn criticized Malek’s expert report and opinions on a variety of grounds. Only one of

those criticisms is relevant to the Motion—



                                                                                 See Motion at 2.

In response, both Malek and Walker addressed the flaws in Lehn’s position, including the

speculative nature of his opinion and his failure to consider factors critical to reaching that

opinion. For example, Malek and Walker criticize Lehn because




                        What CBG attacks, however, are not these flaws in Lehn’s critique.

Instead, CBG attacks Malek and Walker’s brief discussion of the source of strength doctrine—

already recognized by this Court—in the context of addressing these flaws. It is thus important to

outline the positions taken by the parties’ experts in this case to understand the context in which

the complained-of topics are discussed.




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            1. Malek’s Original Report

        The FDIC-R’s damages are based on the claim that, if PwC and Crowe had properly

performed their audits, the fraud would have been discovered and additional losses from that

time forward would have been avoided. The additional losses constitute the FDIC-R’s damages.

Malek’s methodology in determining those amounts is straightforward. He calculated Colonial

Bank’s losses resulting from the fraud at various points in time when PwC and Crowe should

have discovered the fraud and compared those figures to his calculation of the losses when

Colonial Bank was closed. The difference between the two represents the FDIC-R’s damages

for each timeframe involved. For example, Mr. Malek opined that, as of March 7, 2006,

Colonial Bank had incurred losses due to the fraud of $539,282,350, whereas the losses due to

the fraud at bank closure were $2,374,754,413. The difference between these two numbers

($1,835,472,063) represents the FDIC-R’s damages should the jury determine that PwC and

Crowe should have discovered the fraud on March 7, 2006.2

            2. Lehn’s Opinion




            3. Malek’s Rebuttal Opinion




2
  Malek also made various adjustments to the damage calculation by subtracting recoveries made by the FDIC-R
and the income derived from the TBW relationship. The result is that the total damage amount, including
prejudgment interest, using the March 7, 2006 date, was $1,461,609,839.



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                                                                                    As noted in

the rebuttal report, CBG received more than $648.7 million from Colonial Bank from 2003

through 2006 and more than $682.5 million in 2007 and 2008, which far exceeds the amount of

the alleged offset from capital contributions downstreamed by CBG to Colonial Bank. See Ex. B

at 13-14. Furthermore, given the massive dividends received by CBG from Colonial Bank, if the

fraud had been discovered in 2008 and Colonial Bank had become undercapitalized, CBG would

have come under regulatory pressure to recapitalize Colonial Bank given that it had $100 million

on its books at that time. Id. at 16. It is in relation to these rebuttal arguments that Malek

mentioned the source of strength doctrine. In short, Malek demonstrates that




           4. Walker’s Rebuttal Opinion




                                                   See Walker Rebuttal, Ex. D at p. 2-3, ¶3.

Walker explained that it is




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                                          Id. at p. 4, ¶8. Walker then discussed the fact that,

according to Lehn,



                                                                  Id. at 4-5, ¶9. Finally, Walker

opined that, even if “damages are based on PwC discovering the fraud in 2008 or 2009, there is

no sound reason to assume that CBG’s capital contributions would be zero.” Id. at p. 5, ¶10. In

support of this position he contrasted the lack of sound reason to assume there would be no

capital contributions with                                                           Walker, like

Malek, demonstrated that Lehn’s critique of Malek’s opinions failed to consider relevant issues

and was premised on faulty and speculative assumptions.

       B.      Malek and Walker are qualified to testify regarding damages and to rebut
               Lehn’s damages opinions. They are not offering a regulatory or corporate
               governance opinion.

       As discussed above, Malek is the FDIC-R’s damages expert and no party has challenged

his qualifications in that regard. Similarly, Walker was retained to rebut criticisms leveled

against Malek’s damages analysis by defendants’ experts and, like Malek, his qualifications in

that regard have not been questioned. There is good reason for this. Both Walker and Malek

have extensive education, experience, and credentials in their fields. Malek is a Certified Public

Accountant with more than 30 years of experience assisting companies in a broad range of

economic matters, including experience advising community banks on capitalization issues in the

context of potential acquisitions. See Ex. E, Curriculum Vitae of Malek; Ex. C, Malek depo. at

240:19-241:20.    He has assisted companies undergoing transactions, disputes, transition,

underperformance, and distress, and has been engaged as an expert in a number of cases to




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conduct financial, economic and accounting investigations. Id. He has been a speaker on

numerous occasions, addressing damages related topics, and has been an expert in 62 court cases

that resulted in the issuance of an expert report, deposition testimony, or trial testimony. Id.

Walker received his Ph.D. in economics from the Massachusetts Institute of Technology, a

Doctoral Fellowship from the American Economic Association, and has extensive experience

publishing, consulting, and testifying as to damages. See Ex. F, Curriculum Vitae of Walker.

The only challenge to their testimony in this case has come from CBG’s motion, which,

challenges a very narrow part of their rebuttal reports—




       CBG argues that Walker and Malek should be precluded from mentioning the source of

strength doctrine because they are not regulatory or corporate governance experts. While both

have pertinent experience, the fact is that they do not need to be regulatory or corporate

governance experts to opine on these topics given the context in which they have been raised.




       In rebuttal, Malek and Walker have simply stated that



            Malek and Walker are stating that, when an expert creates a hypothetical damages

scenario, the expert is required to consider all appropriate adjustments to damages that may

occur in that scenario—                            It does not require any regulatory or corporate




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governance expertise to make this argument. Instead, this is an explanation of damages and how

such damages should be computed—a topic on which no party has disputed Malek or Walker’s

qualifications.

       Furthermore,

                                                                        In discussing the source of

strength doctrine, both Malek and Walker explained why this topic was discussed. When asked

by counsel for CBG whether he was suggesting that “CBG would have been under significantly

[sic] regulatory pressure to recapitalize the bank or that the board of directors of Colonial would

have recapitalized the bank,” Malek made clear that he was “not reaching an opinion whether

the board of directors would have actually recapitalized the bank” in the event that the fraud had

been discovered. See Ex. C, Malek depo., at 294:5-296:24. Instead, he was providing the

reasons he did not include an offset in his damages calculations based on capital contributions in

2008 and 2009, one of which involved his opinion that there would be significant regulatory

pressure to recapitalize the bank under the source of strength doctrine. Id. This is not a novel

proposition. In fact, this Court has already made this point, stating that:

       As a bank holding company, CBG is required to serve as a source of strength to
       Colonial. [citations omitted]. As such, it was entirely foreseeable that CBG
       would downstream funds to Colonial when Colonial began to struggle financially.
       In fact, it was required to do so. . . . the fraud was able to continue for years,
       ultimately—indeed inevitably—leading to Colonial’s financial struggle, thereby
       triggering CBG’s obligation to stabilize its subsidiary by downstreaming funds to
       it.

See Order Granting in Part and Denying in Part Defendant Crowe’s Motion for Summary

Judgment regarding Plaintiff Colonial BancGroup’s Alleged Damages (Doc. 450) at 12-13. But

this point is a necessary component of the rebuttal to Lehn’s critique of Malek’s damages theory.

       Walker also explained his reference to the source of strength doctrine at his deposition.

When asked whether his


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                                                                                 And it’s not based

exclusively on the source of strength doctrine but also on my general knowledge about the fact

that banks are highly regulated entities. And it’s implausible to me, having worked at the

Federal Reserve Bank of Boston and written my dissertation about the banking industry, that’s

something that’s going to happen.” See Ex. A, Walker depo. at 142:1-25. Walker also testified

that he had seen this topic addressed in an Order from this Court. Id. This is not a novel

proposition and highlights that Lehn’s opinion is based on a speculative foundation. Moreover,

the fact that this Court has recognized that the source of strength doctrine was applicable to CBG

as Colonial Bank’s parent corporation shows that Malek and Walker do not have to be regulatory

or corporate governance experts in order to criticize Lehn’s failure to consider it.

       C. Malek and Walker made clear that they are not rebutting Ryan’s report.

       Although CBG claims that Walker and Malek used their rebuttal reports “as [an]

opportunity to criticize BancGroup’s damages and the initial report of BancGroup’s damages

expert, Laureen Ryan,” this is simply not the case. See Motion at 1.



                                                               Malek and Walker respond to this

criticism by addressing the flaws in Lehn’s report described above. Both Malek and Walker

made clear that they were not providing an opinion as to Ryan’s report or opinions.

       For example, Malek’s rebuttal report clearly stated that it was limited to responding to the

criticisms against his initial report by the experts retained by PwC and Crowe. See Ex. B at pp.




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2-4. Malek also made clear in his deposition that he was not rebutting Ryan’s opinions and was

not opining that CBG would have recapitalized Colonial Bank. See Ex. C at 294:15-296:24;

312:7-22. Similarly, Walker’s rebuttal report specifically states that his report is “limited to an

explanation of why five specific criticisms that Dr. Lehn and Dr. James raised regarding Mr.

Malek’s report are invalid and why any opinions based on those criticisms are incorrect.” See

Ex. D at p. 2, ¶2. Accordingly, neither Malek nor Walker criticized the opinions of Ryan, CBG’s

expert.

                                        CONCLUSION

          For all of these reasons, the FDIC-R respectfully requests that the Court deny CBG’s

Motion to Exclude Certain Expert Opinions and Testimony of the FDIC-R’s Experts Jonathan

Walker and Kenneth J. Malek.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

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                                            /s/ John G. Turner, III
                                            OF COUNSEL
